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                              UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF TEXAS
                                            Fort Worth Division

 UNITED STATES OF AMERICA                                ***AMENDED JUDGMENT IN A CRIMINAL CASE

 v.                                                      Case Number: 4:19-CR-00137-O(01)
                                                         U.S. Marshal’s No.: 58362-177
 MICHAEL KYLE SEWELL                                     J. Stevenson Weimer, Assistant U.S. Attorney
                                                         Brook Antonio, Attorney for the Defendant


       On May 8, 2019 the defendant, MICHAEL KYLE SEWELL, entered a plea of guilty as to Count One of
the Information filed on May 1, 2019. Accordingly, the defendant is adjudged guilty of such Count, which
involves the following offense:

 Title & Section                     Nature of Offense                                  Offense Ended   Count
 18 U.S.C. § 2339B                   Conspiracy to Provide Material Support to a        5/01/2019       One
                                     Designated Foreign Terrorist Organization


       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission pursuant to Title 28, United States Code § 994(a)(1), as advisory only.

        The defendant shall pay immediately a special assessment of $100.00 as to Count One of the Information
filed on May 1, 2019.

       The defendant shall notify the United States Attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.


                                                        Sentence imposed September 16, 2019.




                                                        ____________________________________________
                                                        REED O’CONNOR
                                                        U.S. DISTRICT JUDGE


                                                        Signed June 25, 2020.




***Amended Judgment to correct clerical error.
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                                               IMPRISONMENT

      The defendant, MICHAEL KYLE SEWELL, is hereby committed to the custody of the Federal
Bureau of Prisons (BOP) to be imprisoned for a term of TWO HUNDRED FORTY (240) MONTHS as to
Count One of the Information filed on May 1, 2019.

       The defendant is remanded to the custody of the United States Marshal.

                                           SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
THIRTY (30) YEARS as to Count One of the Information filed on May 1, 2019.

       While on supervised release, in compliance with the standard conditions of supervision adopted by the
United States Sentencing Commission:

( 1)   The defendant shall report to the probation office in the federal judicial district where he or she is
       authorized to reside within 72 hours of release from imprisonment, unless the probation officer
       instructs the defendant to report to a different probation office or within a different time frame;
( 2)   After initially reporting to the probation office, the defendant will receive instructions from the
       court or the probation officer about how and when to report to the probation officer, and the
       defendant shall report to the probation officer as instructed;
( 3)   The defendant shall not knowingly leave the federal judicial district where he or she is authorized
       to reside without first getting permission from the court or the probation officer;
( 4)   The defendant shall answer truthfully the questions asked by the probation officer;
( 5)   The defendant shall live at a place approved by the probation officer. If the defendant plans to
       change where he or she lives or anything about his or her living arrangements (such as the people
       the defendant lives with), the defendant shall notify the probation officer at least 10 days before
       the change. If notifying the probation officer at least 10 days in advance is not possible due to
       unanticipated circumstances, the defendant shall notify the probation officer within 72 hours of
       becoming aware of a change or expected change;
( 6)   The defendant shall allow the probation officer to visit the defendant at any time at his or her home
       or elsewhere, and the defendant shall permit the probation officer to take any items prohibited by
       the conditions of the defendant's supervision that he or she observes in plain view;
( 7)   The defendant shall work full time (at least 30 hours per week) at a lawful type of employment,
       unless the probation excuses the defendant from doing so. If the defendant does not have full-time
       employment, he or she shall try to find full-time employment, unless the probation officer excuses
       the defendant from doing so. If the defendant plans to change where the defendant works or
       anything about his or her work (such as the position or the job responsibilities), the defendant shall
       notify the probation officer at least 10 days before the change. If notifying the probation officer in
       advance is not possible due to unanticipated circumstances, the defendant shall notify the probation
       officer within 72 hours of becoming aware of a change or expected change;
( 8)   The defendant shall not communicate or interact with someone the defendant knows is engaged in
       criminal activity. If the defendant knows someone has been convicted of a felony, the defendant
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       shall not knowingly communicate or interact with that person without first getting the permission
       of the probation officer;
( 9)   If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify
       the probation officer within 72 hours;
(10)   The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device,
       or dangerous weapon (i.e., anything that was designed, or was modified for, the specific purpose
       of causing bodily injury or death to another person, such as nunchakus or tasers);
(11)   The defendant shall not act or make any agreement with a law enforcement agency to act as a
       confidential human source or informant without first getting the permission of the court;
(12)   If the probation officer determines that the defendant poses a risk to another person (including an
       organization), the probation officer may require the defendant to notify the person about the risk
       and the defendant shall comply with that instruction. The probation officer may contact the person
       and confirm that the defendant has notified the person about the risk;
(13)   The defendant shall follow the instructions of the probation officer related to the conditions of
       supervision.

       In addition the defendant shall:

       not commit another federal, state, or local crime;

       not possess illegal controlled substances;

       not possess a firearm, destructive device, or other dangerous weapon;

       cooperate in the collection of DNA as directed by the U.S. probation officer;

       report in person to the U.S. Probation Office in the district to which the defendant is released from the
       custody of the Federal Bureau of Prisons within 72 hours of release;

       refrain from any unlawful use of a controlled substance, submitting to one drug test within 15 days of
       release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation
       officer pursuant to the mandatory drug testing provision of the 1994 crime bill;

       participate in mental health treatment services as directed by the probation officer until successfully
       discharged, which services may include prescribed medications by a licensed physician, with the
       defendant contributing to the costs of services rendered (copayment) at a rate of at least $25 per month;

       participate and comply with the requirements of the Computer and Internet Monitoring Program,
       contributing to the cost of the monitoring in an amount not to exceed $40 per month. The defendant
       shall consent to the probation officer's conducting ongoing monitoring of his computer/computers. The
       monitoring may include the installation of hardware and/or software systems that allow evaluation of
       computer use. The defendant shall not remove, tamper with, reverse engineer, or circumvent the
       software in any way. The defendant shall only use authorized computer systems that are compatible with
       the software and/or hardware used by the Computer and Internet Monitoring Program. The defendant
       shall permit the probation officer to conduct a preliminary computer search prior to the installation of
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    software. At the discretion of the probation officer, the monitoring software may be disabled or removed
    at any time during the term of supervision;

    submit to periodic, unannounced examinations of his computer/computers, storage media, and/or other
    electronic or Internet-capable devices, performed by the probation officer at reasonable times and in a
    reasonable manner based on reasonable suspicion of contraband evidence of a violation of supervision.
    This may include the retrieval and copying of any prohibited data and/or the removal of such system for
    the purpose of conducting a more thorough inspection. The defendant shall provide written authorization
    for release of information from the defendant's Internet service provider;

    not access any Internet Service Provider account or other online service using someone else's account,
    name, designation, or alias;

    not use any computer other than the one the defendant is authorized to use without prior approval from
    the probation officer; and,

    not use any software program or device designed to hide, alter, or delete records and/or logs of the
    defendant's computer use, Internet activities, or files stored on the defendant's computer.

                                              FINE/RESTITUTION

    The Court does not order a fine or costs of incarceration because the defendant does not have the financial
    resources or future earning capacity to pay a fine or costs of incarceration.

    Restitution is not ordered because there is no victim other than society at large.
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                                                 RETURN

          I have executed this judgment as follows:




          Defendant delivered on _____________________ to ___________________________________

    at ________________________________________________, with a certified copy of this judgment.


                                                      United States Marshal

                                                      BY
                                                      Deputy Marshal
